IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
WESTERN DIVISION

UNITED STATES OF AMERICA
PLAINTIFF,

JESUS PALOMAREZ

)
)
)
V. ) CASE NO.: CR08-4087
)
)
DEFENDANT, )

MOTION TO REDUTION OF SENTENCE

COMES NOW THE DEFENDANT, JESUS PALOMAREZ, PRO SE, and moves this
court pursuant to U.S.C. § 3582 (c) (2) for an order reducing his term of imprisonment on the
grounds that a retroactive amendment to the Federal Sentencing Guidelines allows the Court to
reduce his sentence. The Defendant states following in support thereof:

1. The Defendant is currently serving a term of imprisonment for possession with intent
to Distribute 50 Grams or more of Methamphetamine. In violation of §21.841 (A) (1) and 841
(1) 1) @).

2. On July 7, 2009, the Defendant was sentenced to 202 months imprisonment on count
1, with an offense level of 29 and a criminal history category of VI. The recommended guideline
range 188-235 months. The court imposed a 202-month sentence. The court also imposed a

sentence of 60 months consecutive on count two (2) for an aggregate sentence of 262 months.

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3. The sentencing range that the Defendant received his sentence under has since been
amended by the United States Sentencing Commission effective November 1, 2014 pursuant to
United States Sentencing Guideline, Appendix C, and Amendment 782.

4, Pursuant to the amended guidelines the Defendant's amended guideline range is 151-
188 months. This amended range reflects the Defendant’s offense level of 29, which includes the
acceptance of responsibility reduction of two levels.

5. The Defendant has made great efforts towards rehabilitative efforts, including no
disciplinary actions in the Federal Bureau of Prisons. (See Attachment 1, page 2-3 & Attachment
2).

6. The Defendant has participated and completed his judicial financial obligations
pursuant to the Inmate Financial Responsibility Program. (See Attachment |, page 1).

7. The Defendant is currently working on his long-term reentry goals, and is currently
awaiting placement in the Adult Continuing Education Quality Assurance Program.

8. The Defendant wishes this Court to consider that at the time of sentencing the
Defendant was immature and unfocused in life. He has utilized his incarceration to mature and
come to the realization that he wishes to be a productive member of society and is remorseful for
his actions that has led to his incarceration.

WHEREFORE, the Defendant respectfully requests the Court to consider his motion and
the progress he is making in his rehabilitative efforts. The Defendant is requesting the court to
enter an order pursuant to 18 U.S.C. § 3582 (c) (2) reducing the Defendants sentence to reflect
the newly amended guideline range of 151-188 months. The Defendant prays that the Court will

grant him this relief and any other he may be entitled to.

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Respectfully Submitted,

Jesus Palomarez, Defendant Pro Se
Reg. No.: 03832-029

FCI Memphis

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Attachments: 1 Inmate Skills Development Plan
2 Inmate Education Data Transcript

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Judge Mark W Bennett
United States District Court
320 Sixth Street
Sioux CITY, IA 51104
United States

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